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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Novation Holding, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  1724 Phoenix Parkway, Building 600
                                  College Park, GA 30349
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Clayton                                                           Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.novationcompanies.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Novation Holding, Inc.                                                                         Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              5511

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
     A debtor who is a “small                Chapter 9
     business debtor” must check             Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                 operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                    exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.                                                      debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.   Were prior bankruptcy                  No.
     cases filed by or against
                                            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                                District                                    When                                Case number
                                                   District                                    When                                Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
                                            Yes.
    business partner or an
    affiliate of the debtor?


     List all cases. If more than 1,
     attach a separate list                        Debtor         See Rider 1, attached.                                          Relationship

                                                   District                                    When                               Case number, if known

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Debtor   Novation Holding, Inc.                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone


         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than 100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




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Debtor   Novation Holding, Inc.                                                                    Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      08/13/2023
                                                  MM / DD / YYYY


                             X    /s/ Michael Wyse                                                        Michael Wyse
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X    /s/ Robert F. Poppiti, Jr.                                               Date 08/13/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                    Robert F. Poppiti, Jr.
                                 Printed name

                                    Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                    1000 North King Street, Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (302) 571-6600              Email address           rpoppiti@ycst.com

                                    Bar No. 5052 (DE)
                                 Bar number and State




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                                                     RIDER 1

                             Pending Bankruptcy Cases Filed by Affiliated Entities

                        On the date hereof, each of the affiliated entities listed below (collectively,

         the “Debtors”), including the debtor in this chapter 11 case, filed a petition in the United States

         Bankruptcy Court for the District of Delaware (the “Court”) for relief under chapter 11 of title

         11 of the United States Code, 11 U.S.C. §§ 101 et seq. Contemporaneously with the filing of

         their voluntary petitions, the Debtors filed a motion requesting that the Court jointly administer

         their chapter 11 cases for administrative purposes only.


               Entity Name                      Federal Employer Identification Number (EIN)
               Novation Companies, Inc.         XX-XXXXXXX
               Novation Holding, Inc.           XX-XXXXXXX
               Healthcare Staffing, Inc.        XX-XXXXXXX
               NovaStar Mortgage, LLC           XX-XXXXXXX




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                                     UNANIMOUS WRITTEN CONSENT
                                              OF THE
                                        BOARD OF DIRECTORS
                                                OF
                                       NOVATION HOLDING, INC.

                                                   August 4, 2023

                 THE UNDERSIGNED, being all the members of the Board of Directors (the “Board”) of
         Novation Holding, Inc., a Delaware corporation (the “Company”), hereby consent (this
         “Unanimous Consent”) that the actions recited herein shall be deemed the actions of the Board
         with the same effect as if taken at a duly noticed and called meeting of the Board, and direct that
         this writing be filed with minutes of proceedings of the Board, all pursuant to the provisions of
         Section 141(f) of the General Corporation Law of the State of Delaware as of the date set forth
         above:

                WHEREAS, the Company is the sole member of NovaStar Mortgage, LLC (“NovaStar”),
         a Virginia limited liability company;

                WHEREAS, the Board has reviewed and considered the financial and operational
         condition of the Company and NovaStar and their respective businesses on the date hereof,
         including the historical performance of the Company and NovaStar, the assets of the Company
         and NovaStar, the current and long-term liabilities of the Company and NovaStar, the market for
         the Company and NovaStar’s assets, credit market conditions, and macroeconomic conditions
         impacting the Company and NovaStar; and

                 WHEREAS, the Board has received, reviewed, and considered the recommendations of
         the Company and NovaStar’s Chief Restructuring Officer and the Company and NovaStar’s legal,
         financial, and other advisors as to the relative risks and benefits of pursuing bankruptcy
         proceedings under the provisions of chapter 11 of Title 11 of the United States Code, 11 U.S.C.
         §§ 101 et seq. (the “Bankruptcy Code”).

                NOW, THEREFORE, BE IT:

                Appointment of CRO

                RESOLVED, that Michael Wyse of Wyse Advisors LLC (“WALLC”) is hereby
         appointed as the Chief Restructuring Officer (the “CRO”) of the Company; and it is further

                Commencement and Prosecution of Bankruptcy Case

                 RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests of
         the Company, its creditors, stockholder and other interested parties, that a voluntary petition (the
         “Petition”) be filed by the Company in the United States Bankruptcy Court for the District of
         Delaware (the “Bankruptcy Court”) commencing a case (the “Bankruptcy Case”) under the
         provisions of chapter 11 of the Bankruptcy Code; and it is further

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                  RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests of
         NovaStar, its creditors, sole member, and other interested parties, that a voluntary petition be filed
         by NovaStar in the Bankruptcy Court under the provisions of chapter 11 of the Bankruptcy Code;
         and it is further

                 RESOLVED, that the CRO (the “Authorized Person”), be, and hereby is, authorized,
         directed and empowered, on behalf of the Company, to execute, acknowledge, deliver, and verify
         the Petition and to cause the same to be filed with the Bankruptcy Court at such time as the
         Authorized Person may determine; and it is further

                 RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
         empowered, on behalf of the Company in its capacity as the sole member of NovaStar, to authorize,
         direct, and empower NovaStar to file a voluntary petition in the Bankruptcy Court under the
         provisions of chapter 11 of the Bankruptcy Code and to take any and all related actions that the
         Authorized Person may deem necessary or proper in connection with the filing of such petition
         and commencement of such bankruptcy case; and it is further

                 RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
         empowered on behalf of the Company, to execute, acknowledge, deliver and verify and file any
         and all petitions, schedules, statements of affairs, lists and other papers and to take any and all
         related actions that the Authorized Person may deem necessary or proper in connection with the
         filing of the Petition and commencement of the Bankruptcy Case; and it is further

                 RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
         empowered, from time to time in the name and on behalf of the Company, to perform the
         obligations of the Company under the Bankruptcy Code, with all such actions to be performed in
         such manner, and all such certificates, instruments, guaranties, notices and documents to be
         executed and delivered in such form, as the Authorized Person performing or executing the same
         shall approve, and the performance or execution thereof by the Authorized Person shall be
         conclusive evidence of the approval thereof by the Authorized Person and by the Company; and it
         is further

                 RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
         empowered from time to time in the name and on behalf of the Company, to cause the Company
         to enter into, execute, deliver, certify, file, record and perform such agreements, instruments,
         motions, affidavits, applications for approvals or rulings of governmental or regulatory authorities,
         certificates or other documents, to pay all expenses, including filing fees, and to take such other
         actions, as in the judgment of the Authorized Person, shall be necessary, proper and desirable to
         prosecute to a successful completion the Bankruptcy Case and to effectuate the restructuring or
         liquidation of the Company’s debt, other obligations, organizational form and structure and
         ownership of the Company, all consistent with the foregoing resolutions and to carry out and put
         into effect the purposes of these resolutions, and the transactions contemplated by these
         resolutions, their authority thereunto to be evidenced by the taking of such actions; and it is further




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                Retention of Professionals

                  RESOLVED, that the law firm of Olshan Frome Wolosky LLP (“Olshan”) be, and hereby
         is, authorized and empowered to represent the Company as corporate counsel to represent and
         assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
         actions to advance the Company’s rights, including the preparation of pleadings and filings in the
         Bankruptcy Case; and in connection therewith, the Authorized Person be, and hereby is, authorized
         and empowered, on behalf of and in the name of the Company to execute appropriate retention
         agreements, pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy
         Case, and to cause to be filed an appropriate application for authority to retain the services of
         Olshan; and it is further

                  RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP (“Young
         Conaway”) be, and hereby is, authorized and empowered to represent the Company as bankruptcy
         counsel to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
         and to take any and all actions to advance the Company’s rights, including the preparation of
         pleadings and filings in the Bankruptcy Case; and in connection therewith, the Authorized Person
         be, and hereby is, authorized and empowered, on behalf of and in the name of the Company to
         execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
         the filing of the Bankruptcy Case, and to cause to be filed an appropriate application for authority
         to retain the services of Young Conaway; and it is further

                 RESOLVED, that WALLC be, and hereby is, authorized and empowered to provide Mr.
         Wyse to serve as the CRO and to provide additional staff to the Company and assist the Company
         in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
         the Company’s rights and obligations in connection with the Bankruptcy Case; and in connection
         therewith, the Authorized Person be, and hereby is, authorized and empowered, on behalf of and
         in the name of the Company, to execute appropriate retention agreements, pay appropriate
         retainers, if required, prior to and immediately upon the filing of the Bankruptcy Case, and to cause
         to be filed an appropriate motion or application for authority to retain the services of Mr. Wyse
         and WALLC; and it is further

                 RESOLVED, that Stretto, Inc. (“Stretto”) be, and hereby is, authorized and empowered
         to serve as the noticing, claims, solicitation and balloting agent in connection with the Bankruptcy
         Case; and in connection therewith, the Authorized Person be, and hereby is, authorized and
         empowered, on behalf of and in the name of the Company to execute appropriate retention
         agreements, pay appropriate retainers, if required, prior to and immediately upon the filing of the
         Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain the
         services of Stretto; and it is further

                RESOLVED, that the Authorized Person be, and hereby is, authorized and empowered,
         on behalf of and in the name of the Company to employ any other individual and/or firm as
         professionals, consultants, financial advisors, or investment bankers to the Company as are deemed
         necessary to represent and assist the Company in carrying out its duties under the Bankruptcy
         Code, and in connection therewith, the Authorized Person be, and hereby is, authorized and
         empowered, on behalf of and in the name of the Company to execute appropriate retention

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         agreements, pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy
         Case, and to cause to be filed an appropriate application for authority to retain the services of such
         firms; and it is further

                Postpetition Financing

                 RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
         empowered, on behalf of and in the name of the Company, to: (a) authorize, negotiate, execute
         and deliver a post-petition financing facility pursuant to that certain Debtor-in-Possession Loan
         and Security Agreement (as amended, restated, amended and restated, supplemented or otherwise
         modified from time to time, the “DIP Credit Agreement”; capitalized terms not otherwise defined
         herein shall have the meanings set forth in the DIP Credit Agreement), by and among Nighthawks
         Holdings I, LLC, as administrative agent (the “DIP Agent”), the lenders party thereto (the “DIP
         Lenders”), the Company, as borrower thereunder, and certain of the Company’s affiliates as loan
         parties thereto, in substantially the form provided to the Board; (b) negotiate, execute and deliver
         guaranties of the foregoing facility by certain affiliates of the Company; (c) grant security interests
         in favor of the DIP Agent, for the benefit of the DIP Lenders, to secure the obligations under the
         DIP Credit Agreement and the other loan documents executed in connection therewith;
         (d) negotiate the use of the cash collateral of the Company’s existing secured lenders and the form
         of adequate protection to be granted in connection with such use; and (e) authorize, negotiate,
         execute and deliver the other loan documents and such additional agreements, instruments, and
         documents as may be contemplated or required by the DIP Credit Agreement upon such other
         terms and conditions as the Authorized Person executing the same may consider necessary, proper
         or desirable, and to take such additional action and to execute and deliver each other agreement,
         instrument or document to be executed and delivered, in the name and on behalf of the Company,
         all with such changes therein and additions thereto as the Authorized Person approves, such
         approval to be conclusively evidenced by the taking of such action or by the execution and delivery
         thereof; and it is further

                Restructuring Support Agreement

                 RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
         empowered, on behalf of and in the name of the Company, to authorize, negotiate, execute and
         deliver that certain Restructuring Support Agreement (as amended, restated, amended and restated,
         supplemented or otherwise modified from time to time, the “RSA”), by and among the Company
         and certain of the Company’s affiliates, Nighthawks Holdings I, LLC, HOMF II Distressed
         Opportunities, Ltd., and certain beneficial holders of, or investment advisors, sub-advisors, or
         managers of discretionary accounts that are beneficial holders of, Amended and Restated Senior
         Secured Promissory Notes issued by the Company or certain of the Company’s affiliates, and to
         take any and all actions that the Authorized Person deems necessary or appropriate to pursue
         consummation of the RSA and any and all transactions contemplated by the RSA; and it is further

                Plan

              RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
         empowered, on behalf of and in the name of the Company, to file the plan of reorganization

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         contemplated by the RSA (the “Plan”) and the disclosure statement related thereto and all other
         papers or documents (including any amendments) related thereto and to take any and all actions
         that the Authorized Person deems necessary or appropriate to pursue confirmation and
         consummation of the Plan and any and all transactions contemplated by the Plan; and it is further

                General Resolutions

                 RESOLVED, that all actions heretofore taken, and all agreements, instruments, reports
         and documents executed, delivered or filed through the date hereof, by the Authorized Person, for
         and on behalf of the Company, in connection with the matters described in or contemplated by the
         foregoing resolutions, are hereby approved, adopted, ratified and confirmed in all respects as the
         acts and deeds of the Company as of the date such action or actions were taken.



                                                     *****




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                 IN WITNESS WHEREOF, the undersigned have executed this Unanimous Consent as
         of the date set forth below.

             Date: August 4, 2023
                                                         DIRECTORS:

                                                         /s/ Howard M. Amster
                                                         Howard M. Amster

                                                         /s/ Barry A. Igdaloff
                                                         Barry A. Igdaloff




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      Debtor name     Novation Companies, Inc., et al.
      United States Bankruptcy Court for the:                            District of     Delaware
                                                                                       (State)
      Case number (If known):
                                                                                                                                                Check if this is an
                                                                                                                                                   amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated, total claim amount and deduction for value of
                                                                                  services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if   Deduction for      Unsecured
                                                                                                                        partially         value of           claim
                                                                                                                        secured           collateral or
                                                                                                                                          setoff

1    Nighthawks Holdings I, LLC
                                                                                  Unsecured
     228 Park Avenue South                      Daniel Strauss
                                                                                  Prepetition                                                                 $828,750.00
     PMB #27207                                 daniel@strausscap.com
                                                                                  Financing
     New York, NY 10003
     HOMF II Distressed
2
     Opportunities, Ltd.                                                          Unsecured
                                                Justin Gregory
     333 Ludlow Street                                                            Prepetition                                                                 $796,250.00
                                                jgregory@hildenecap.com
     5th Floor                                                                    Financing
     Stamford, CT 06902
3                                               Lonny Levy (Account Services
     Berkshire Hathaway Inc.
                                                Team)
     1722 Mitchell Ave                                                       Trade Claim                Disputed                                              $634,425.58
                                                P: 714-573-1635
     Tustin, CA 92780
                                                llevy@bhhc.com

     Underground Vaults & Storage,              Shelley Stanley
4
     Inc.                                       (Accounting/Billing Clerk)
                                                                                  Trade Claim                                                                 $238,123.27
     3500 East Avenue G                         P: 800-873-0906
     Hutchinson, KS 67501                       shelley.stanley@uvsinc.com

5    First Secure Data LLC                      Kou Srimoungchanh
     27996 W 85th Terrace                       P: 888-848-8813                   Trade Claim                                                                 $88,083.00
     De Soto, KS 66018-9143                     billing@firstsecuredata.com

6
     Iron Mountain Inc.                         Michelle Ehm
     1 Federal Street Boston                    P: 800-899-4766                   Trade Claim                                                                 $66,330.09
     Boston, MA 02110                           michelle.ehm@iqor.com


7    USI Insurance Services, Inc.
                                                Matthew Bryant
     1 Concourse Pkwy Ne
                                                P: 914-749-8500                   Trade Claim                                                                 $45,000.00
     Suite 700
                                                matthew.bryant@usi.com
     Atlanta, GA 30328

8    AFCO Credit Corporation
                                                Robert Pinkerton
     310 Grant Street
                                                P: 877-701-1212                   Trade Claim                                                                 $44,614.82
     Suite 1600
                                                pfa@afco.com
     Pittsburgh, PA 15219
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    30650966.3                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
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    Debtor         Novation Companies, Inc., et al.                                           Case number




     Name of creditor and complete          Name, telephone number, and email   Nature of the    Indicate if Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         claim (for       claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                example, trade   contingent claim amount. If claim is partially secured, fill in
                                                                                debts, bank      ,           total claim amount and deduction for value of
                                                                                loans,           unliquidate collateral or setoff to calculate unsecured claim.
                                                                                professional     d, or
                                                                                services, and    disputed
                                                                                                              Total claim, if    Deduction for      Unsecured
                                                                                                              partially          value of           claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9    Travelers Property Casualty
                                           Travelers CL Remittance Center
     Company of America
                                           P: 866-336-2077                      Trade Claim                                                          $29,757.00
     1 Town Square
                                           custavo@travelers.com
     Hartford, CT 06813

10 Phoenix Park ATL Property LP            Keysha Maxberry (Manager,
   700 N Pearl St Ste N1650                Westmount Realty Capital)            Rent                                                                 $17,843.48
   Dallas, TX 75201                        kmaxberry@westmountrc.com

11 Internal Revenue Services
   550 Main Street
                                           P: 800-829-1040                      Tax              Disputed                                            $11,580.12
   #10
   Cincinnati, OH 45999-0039

12 IntelligIS, Inc.
                                           P: 770-478-6777
   107 Technology Parkway                                                       Trade Claim                                                          $11,141.43
                                           accounting@intelligis.com
   Peachtree Corners, GA 30092

13 Smith Schafer & Associates, Ltd.
   7500 Highway 55                         P: 952-920-1455
                                                                                Trade Claim                                                           $6,156.36
   Suite 350                               info@smithschafer.com
   Minneapolis, MN 55427
   Wells Fargo Equipment Finance
14
   Company                                 P: 612-667-9876
   733 Marquette Avenue                                                         Machine Lease                                                         $5,934.41
                                           dallasmiller@wellsfargo.com
   Suite 700
   Minneapolis, MN 55480-7796
15 Computershare Inc.                      Christal Goldman
   DEPT CH 19228                           P: 1-866-524-0690                  Trade Claim                                                             $5,476.14
   Palatine, IL 60055-9228                 christal.goldman@computershare.com

16 Solvo Solutions Inc.                    Sebastian Bueno
   2425 Commerce Avenue
                                           P: 833-413-1546                      Trade Claim                                                           $4,875.00
   Suite 200
                                           sebastian.bueno@solvoglobal.com
   Duluth, GA 30096
                                  Shannon Robertson
17 New Horizons Behavioral Health
                                  P: 706-596-5500                               Expense
   2100 Comer Avenue                                                                                                                                  $4,818.26
                                  F: 706-596-5589                               Reimbursement
   Columbus, GA 31904
                                  srobertson@nhbh.org
                                           Cindy Bragg
18 Reese & Company, Inc.
   2000 Business Center. Dr                P: 912-236-4233
                                                                                Rent                                                                  $4,410.00
   Ste 230                                 F: 912-236-4234
   Savannah, GA 31405                      cindyb@reeseandco.com

19 Quadient Leasing USA, Inc.
   P.O. Box 123682                         P: 203-301-3400
                                                                               Machine Lease                                                          $4,000.51
   Department 3682                         us.CollectionsInquires@quadient.com
   Dallas, TX 75312-3682
                                           Tim A. Penner
20 AGH Wealth Advisors, LLC
   301 N. Main Street                      P: 316-267-3220
                                                                                ERISA                                                                 $3,723.97
   Suite 1700                              F: 316-291-4115
   Wichita, KS 67202-4868                  tim.penner@aghwealth.com

    Official Form 204
    30650966.3               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                    )
             In re:                                                 )   Chapter 11
                                                                    )
             NOVATION COMPANIES, INC., et al., 1                    )   Case No. 23-______ (__)
                                                                    )
                                                                    )   (Joint Administration Requested)
                                     Debtors.                       )
                                                                    )

                          CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                           AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                            TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                          Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

         Bankruptcy Procedure, the debtors and debtors in possession in the above-captioned cases (each,

         a “Debtor,” and collectively, the “Debtors”) hereby state as follows:

                          1.       A list of Debtor Novation Companies, Inc.’s equity interest holders and the

         nature of their equity interests is attached hereto as Exhibit A.

                          2.       Debtor Novation Companies, Inc. owns 100% of the equity interests in

         Novation Holding, Inc.

                          3.       Debtor Novation Holding, Inc. owns 100% of the equity interests in Debtors

         Healthcare Staffing, Inc. and NovaStar Mortgage, LLC.




         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Novation Companies, Inc. (0661), Novation Holding, Inc. (7576), Healthcare Staffing, Inc. (6045), and
         NovaStar Mortgage, LLC (0743). The mailing address for each of the Debtors is 1724 Phoenix Parkway, Building
         600, College Park, GA 30349.
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                                 EXHIBIT A

                        Equity Interest Holders for
                        Novation Companies, Inc.




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                                                       Number of          Percentage of
                    Name & Address                    Common Stock       Common Stock
   Cede & Co.
   570 Washington Blvd
   Jersey City, NJ 07310                                    73,048,403            64.30%
   Massachusetts Mutual Life Insurance Company
   1295 State Street
   Springfield, MA 01111-0001                               18,581,000            16.36%
   Kodiak CDO I Ltd.
   190 Elgin Avenue
   Georgetown
   Grand Cayman KY1-9005
   Cayman Islands                                            3,240,000                2.85%
   Taberna Preferred Funding I Ltd.
   c/o Samit Ghosh
   190 Elgin Avenue
   George Town
   Grand Cayman KY1-9005
   Cayman Islands                                            2,880,000                2.54%
   Taberna Preferred Funding II Ltd.
   190 Elgin Avenue
   Georgetown
   Grand Cayman KYI-9005
   Cayman Islands                                            2,880,000                2.54%
   Wayne Jett
   Available Upon Request                                    2,513,300                2.21%
   Barry Igdaloff
   Available Upon Request                                    2,109,579                1.86%
   Douglas Walker & Sushila D. Walker
   Available Upon Request                                    2,000,001                1.76%
   Howard Timothy Eriksen
   Available Upon Request                                    1,083,333                0.95%
   Chaplin & Co. LLC
   7401 Travertine Dr.
   Unit 401
   Baltimore, MD 21209                                       1,075,000                0.95%
   Carolyn Campbell
   Available Upon Request                                     565,000                 0.50%
   Massachusetts Mutual Life Insurance Company
   c/o Babson Capital Management LLC
   1500 Main St
   Suite 2800
   Springfield, MA 01115                                      464,525                 0.41%

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   Rodney Schwatken
   Available Upon Request                                          400,000                 0.35%
   Greg Barmore
   Available Upon Request                                          380,770                 0.34%
   Wayne Jett & Jane G. Jett Tr. U/A Jett Family Living
   Trust
   Available Upon Request                                          345,000                 0.30%
   Angela Digiovanni
   Available Upon Request                                          295,000                 0.26%
   Chuck Gillman
   Available Upon Request                                          208,333                 0.18%
   Robert Pearse
   Available Upon Request                                          108,333                 0.10%
   Tracy Cameron
   Available Upon Request                                           90,000                 0.08%
   Anne Haraughty
   Available Upon Request                                           70,000                 0.06%
   Ward Capital LP
   5949 Sherry Ln
   Suite 1650
   Dallas, TX 75225-8095                                            66,752                 0.06%
   City National Securities Cust. FBO Gary D.
   Goldberg IRA
   Available Upon Request                                           61,937                 0.05%
   Ralph Eads
   Available Upon Request                                           61,937                 0.05%
   Chris Kanoff
   Available Upon Request                                           61,937                 0.05%
   Martin Stevens
   Available Upon Request                                           61,937                 0.05%
   David Weaver
   Available Upon Request                                           61,937                 0.05%
   Andrew Whittaker
   Available Upon Request                                           61,937                 0.05%
   Bonita Mikel
   Available Upon Request                                           60,000                 0.05%
   Dixie Stanley
   Available Upon Request                                           60,000                 0.05%
   Phyllis Diane Roebuck
   Available Upon Request                                           60,000                 0.05%
   Marvin H. Schwartz
   Available Upon Request                                           50,128                 0.04%




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   Paul H. Saunders
   Available Upon Request                                       39,678                 0.03%
   Walter Anderson
   Available Upon Request                                       35,729                 0.03%
   Melvin Knyper
   Available Upon Request                                       30,968                 0.03%
   Keith Myers
   Available Upon Request                                       30,968                 0.03%
   Fisherman Fund LP
   4311 Oak Lawn Ave
   Suite 100
   Dallas, TX 75219                                             29,396                 0.03%
   Ryan Randall Gilbertson
   Available Upon Request                                       26,186                 0.02%
   Korenvaes Capital Partners LP
   3953 Maple Ave
   Suite 150
   Dallas, TX 75219                                             23,055                 0.02%
   Clearwell Investment Partners Series A LLC
   610 W. De Leon Street
   Tampa, FL 33606                                              21,314                 0.02%
   Tribeca Heavy Industries LLC
   13 Crosby Street
   Floor 2
   New York, NY 10013                                           18,245                 0.02%
   Allen Yim & Janly Yim
   Available Upon Request                                       17,425                 0.02%
   Steve Smith
   Available Upon Request                                       16,000                 0.01%
   James Pedas Tr. U/A Pedas Children's Irrevocable
   Trust (1997)
   Available Upon Request                                       15,484                 0.01%
   James Vardon
   Available Upon Request                                       15,484                 0.01%
   Fred Bellemere III & Judith K. Bellemere Tr. U/A
   Fred Bellemere III Revocable Trust
   Available Upon Request                                       15,000                 0.01%
   David Heikkinen & Ann Heikkinen
   Available Upon Request                                       12,845                 0.01%
   Andrew Booth
   Available Upon Request                                       12,387                 0.01%
   Claire Farley
   Available Upon Request                                       12,387                 0.01%



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   John Kenny
   Available Upon Request                                      12,387                 0.01%
   J. David Lucke
   Available Upon Request                                      12,387                 0.01%
   David A. Smith
   Available Upon Request                                        9,047                0.01%
   James Pedas Tr. U/A James Pedas Revocable
   Trust
   Available Upon Request                                        7,743                0.01%
   Theodore Pedas Tr. U/A Theodore Pedas Revocable
   Trust
   Available Upon Request                                        7,743                0.01%
   Michael E. Montgomery
   Available Upon Request                                        6,602                0.01%
   Clarkenn Investments Ltd.
   Available Upon Request                                        6,538                0.01%
   Glenn Salzman
   Available Upon Request                                        6,383                0.01%
   David Bole
   Available Upon Request                                        6,194                0.01%
   Harry Chung
   Available Upon Request                                        6,194                0.01%
   Steven Croxton
   Available Upon Request                                        6,194                0.01%
   Gregory Dawkins
   Available Upon Request                                        6,194                0.01%
   Timothy Fitzgerald
   Available Upon Request                                        6,194                0.01%
   Annette Grimaldi
   Available Upon Request                                        6,194                0.01%
   Lester Properties A Partnership
   Attn: D. Kevin Lester
   7820 N. Van Ness Blvd
   Fresno, CA 93711-0437                                         6,000                0.01%
   Martin R. De Laureal Jr.
   Available Upon Request                                        5,911                0.01%
   Paul Bradley
   Available Upon Request                                        5,826                0.01%
   Lee/Wei Family Trust U/A Shiuh Kai Lee & Shu-
   Yin Jesse Wei Tr.
   Available Upon Request                                        5,764                0.01%
   Alexander S. Mottershead
   Available Upon Request                                        5,284                0.00%
   Chris Miller
   Available Upon Request                                        5,073                0.00%
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   Judith K. Bellemere & Fred Bellemere III Tr. U/A
   Judith K. Bellemere Revocable Trust
   Available Upon Request                                          5,000                0.00%
   So-Fei Wei Fang Trust U/A So-Fei Wei Fang Tr.
   Available Upon Request
                                                                   4,861                0.00%
   Muriel C. Witkowski TOD Cecilia Hackman
   Available Upon Request
                                                                   3,900                0.00%
   Walter C. Peterson & Mary B. Peterson
   Available Upon Request                                          3,893                0.00%
   Susan W. Floyd
   Available Upon Request                                          3,468                0.00%
   Dmytryk Turczeniuk & Larissa Turczeniuk
   Available Upon Request                                          3,305                0.00%
   James J. Knoeller
   Available Upon Request                                          3,097                0.00%
   John Richard Doherty
   Available Upon Request                                          2,569                0.00%
   Cl Nordstrom Family LLC
   Available Upon Request                                          2,500                0.00%
   Reid S. Walker
   Available Upon Request                                          2,427                0.00%
   Walter F. Naedele
   Available Upon Request                                          2,000                0.00%
   George Family Trust U/A Gerald & Tamara George
   Tr.
   Available Upon Request                                          1,837                0.00%
   Hoak FOF LP
   Attn: J. Hale Hoak
   3963 Maple Ave Suite 450
   Dallas, TX 75219                                                1,729                0.00%
   David Pazgan
   Available Upon Request                                          1,600                0.00%
   Todd D. Coleman
   Available Upon Request                                          1,548                0.00%
   Larkin M. Fowler III
   Available Upon Request                                          1,548                0.00%
   Neil J. Wessan
   Available Upon Request                                          1,548                0.00%
   Andrew K. Woolford
   Available Upon Request                                          1,548                0.00%
   George Hutchinson
   Available Upon Request                                          1,544                0.00%
   Donald O. Alsbury & Marian L. Alsbury
30426677.1                                         5
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   Available Upon Request                                         1,500                0.00%
   Bruce G. Wilcox
   Available Upon Request                                         1,173                0.00%
   Helen K Davis Tr. U/A Davis Living Trust
   Available Upon Request                                         1,156                0.00%
   Steven Ikeler
   Available Upon Request                                         1,000                0.00%
   Robert J. Dittmer & Rebecca B. Dittmer
   Available Upon Request                                          912                 0.00%
   Deborah Suchocki
   Available Upon Request                                          876                 0.00%
   Frederick Scott Robertson
   Available Upon Request                                          863                 0.00%
   Frank A. Mcgrew IV & Neely P Mcgrew
   Available Upon Request                                          836                 0.00%
   Caroline Pill
   Available Upon Request                                          800                 0.00%
   Carl J. Weierman & June C. Weierman
   Available Upon Request                                          750                 0.00%
   John C. Mares & Judy A. Mares
   Available Upon Request                                          749                 0.00%
   Michael J. Peterson
   Available Upon Request                                          722                 0.00%
   Joseph A. Yurko Jr. & Ruthann Yurko
   Available Upon Request                                          687                 0.00%
   Deborah Suchocki
   Available Upon Request                                          679                 0.00%
   William M. Anderson & Lynne K. Anderson
   Available Upon Request                                          650                 0.00%
   Nada L. Dusslier
   Available Upon Request                                          625                 0.00%
   Jim Anderson
   Available Upon Request                                          610                 0.00%
   Barbara Stone & Lynn Petnick
   Available Upon Request                                          525                 0.00%
   Bill Childs
   Available Upon Request                                          500                 0.00%
   Donald Gillette & Christopher Gillette
   Available Upon Request                                          500                 0.00%
   Jeanne J. Manthei Tod Jeanne J. Manthei Tr. U/A
   George R. Manthei & Jeanne J. Manthei Rev. Trust
   Available Upon Request                                          425                 0.00%
   Douglas B. Thomas
   Available Upon Request                                          425                 0.00%


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   Zhao Rong
   Available Upon Request                                           424                 0.00%
   Marian Hess
   Available Upon Request                                           411                 0.00%
   Ruthann Yurko
   Available Upon Request                                           397                 0.00%
   Ernest E. Schneider & Yvonne R. Scneider Tr. U/A
   Schneider Family Trust
   Available Upon Request                                           384                 0.00%
   David C. Seibel & Gayle C. Seibel
   Available Upon Request                                           360                 0.00%
   James W. Coons & Suzie V. Matney-Coons
   Available Upon Request                                           348                 0.00%
   Matt Kaltenrieder
   Available Upon Request                                           337                 0.00%
   Silvana M. Cascio
   Available Upon Request                                           334                 0.00%
   Joseph A. Yurko Jr.
   Available Upon Request                                           312                 0.00%
   Kevin Kilcullen
   Available Upon Request                                           309                 0.00%
   Bonnie J. Wooldridge Tr. U/A Bonnie J. Wooldridge
   1998 Rev. Liv. Trust
   Available Upon Request                                           300                 0.00%
   Frank J. Clark
   Available Upon Request                                           297                 0.00%
   Hildegard Gushurst
   Available Upon Request                                           286                 0.00%
   Addie L. Huston
   Available Upon Request                                           284                 0.00%
   Travis A. Gagnier
   Available Upon Request                                           256                 0.00%
   Charles C. Benge
   Available Upon Request                                           250                 0.00%
   Alexander H. Kounaris & Effie H. Kounaris
   Available Upon Request                                           225                 0.00%
   Willaim J. Urban & Julia A. Urban
   Available Upon Request                                           200                 0.00%
   John R. Wilson Jr.
   Available Upon Request                                           200                 0.00%
   Wane Darin Wier
   Available Upon Request                                           200                 0.00%
   James A. Miller & Pamela H. Miller
   Available Upon Request                                           196                 0.00%


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   Dennis L. Zumbrun TOD Patricia Zumbrun
   Available Upon Request                                            192                 0.00%
   Frank S. Lane & Doris M. Lane Tr. U/A Frank S.
   Doris M. Lane family Trust
   Available Upon Request                                            190                 0.00%
   James J. Lacivita
   Available Upon Request                                            181                 0.00%
   Harold H. Harrington & Julia R. Harrington
   Available Upon Request                                            175                 0.00%
   John E Bowen Tr. U/A Bowen Family Revocable
   Trust
   Available Upon Request                                            173                 0.00%
   Steve Warchol
   Available Upon Request                                            170                 0.00%
   Bernard H. Bigler & Lola M. Bigler Tr. U/A Bernard
   H. Bigler & Lola M.
   Available Upon Request                                            166                 0.00%
   Dennis C. Wilcox Tr. U/A Dennis C. Wilcox
   Revocable Trust
   Available Upon Request                                            164                 0.00%
   Tori Rapkin
   Available Upon Request                                            164                 0.00%
   Robert B. Rueger
   Available Upon Request                                            160                 0.00%
   Alexander S. Hartman
   Available Upon Request                                            150                 0.00%
   Emily C. Hartman
   Available Upon Request                                            150                 0.00%
   Roberta O. Schwartz
   Available Upon Request                                            150                 0.00%
   Gilbert F. Craig & Mary Jean Craig
   Available Upon Request                                            135                 0.00%
   Macon Sidney Jack & Barbra L. Jack
   Available Upon Request                                            135                 0.00%
   Lorraine A. Coons & James W. Coons
   Available Upon Request                                            134                 0.00%
   Paul A. Leifer
   Available Upon Request                                            132                 0.00%
   Maddalena Mcclure & Elvera Beaman
   Available Upon Request                                            125                 0.00%
   Leo Palmer & Carolyn M. Palmer
   Available Upon Request                                            125                 0.00%
   Bradley R. Cekanski TOD Jason R. Cekanski
   Available Upon Request                                            121                 0.00%

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   Ann I English TOD Michael J. Bonfiglio
   Available Upon Request                                       119                  0.00%
   Kenneth Oppenheimer
   Available Upon Request                                       117                  0.00%
   Leo D. Mcdade
   Available Upon Request                                       114                  0.00%
   Steve Landes
   Available Upon Request                                       113                  0.00%
   Theodore A. Travis
   Available Upon Request                                       110                  0.00%
   Alison J. Watson
   Available Upon Request                                       110                  0.00%
   James A. Smith
   Available Upon Request                                       109                  0.00%
   Julie M. Manthei
   Available Upon Request                                       100                  0.00%
   John G. Lizzi
   Available Upon Request                                       100                  0.00%
   Carl F. Stuehrk & Margaret L. Stuehrk
   Available Upon Request                                       100                  0.00%
   Parmerlee Partners LP
   868 Lake Shore Dr.
   Nevada, IA 50201-2576                                        100                  0.00%
   Susanna Ng
   Available Upon Request                                           98               0.00%
   Margaret S. Gingrich
   Available Upon Request                                           98               0.00%
   Michelle Deann Hirschinger Tr. U/A Ray M. And
   Anita J. Dixon Living Trust
   Available Upon Request                                           97               0.00%
   Arnold J. Latorre & Marsha L. Latorre
   Available Upon Request                                           96               0.00%
   Kenneth R. Grogan
   Available Upon Request                                           94               0.00%
   Crys Auerbach
   Available Upon Request                                           94               0.00%
   Robert Duffy
   Available Upon Request                                           94               0.00%
   Gaetana M. Walecki
   Available Upon Request                                           93               0.00%
   Stephen C. Sossaman TOD
   Available Upon Request                                           92               0.00%
   Michael E. Mckenzie & Eun Hee Lee
   Available Upon Request                                           91               0.00%

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   Joseph H. Butcher
   Available Upon Request                                                 90               0.00%
   Scott F. Hartman Cust. Emily Cathleen Hartman
   Available Upon Request                                                 90               0.00%
   Scott F. Hartman Cust. Alexander Scott Hartman
   Available Upon Request                                                 90               0.00%
   Ryan M. Krider TOD Shannon Krider
   Available Upon Request                                                 88               0.00%
   Steven J. Messina
   Available Upon Request                                                 86               0.00%
   Kevin A. Bailey & Deborah D. Bailey
   Available Upon Request                                                 86               0.00%
   Herman J. Morris Jr. & Leslie E. Morris Tr. U/A
   Herman J. Morris Jr. & Leslie E. Morris
   Available Upon Request                                                 85               0.00%
   Mark R. Payne & Richard E. Payne Jt. Ten.
   Available Upon Request                                                 77               0.00%
   Julia A. Fickett
   Available Upon Request                                                 76               0.00%
   Bruce R. Hilditch
   Available Upon Request                                                 75               0.00%
   James F. Tracy Jr. Tod James F. Tracy III & Allison
   N. Tracy
   Available Upon Request                                                 75               0.00%
   Paul G. Kucharik & Mary T. Kucharik Tr. U/A Paul
   G. Kucharik & Mary T. Kucharik
   Available Upon Request                                                 75               0.00%
   Julie Rosell TOD Teresa Kozlowski
   Available Upon Request                                                 75               0.00%
   George F. O'Sullivan Ex. Est. Ellen O'Sullivan
   Available Upon Request                                                 69               0.00%
   Jim R. Taylor
   Available Upon Request                                                 68               0.00%
   Mardon Israel & Sondra Israel
   Available Upon Request                                                 68               0.00%
   Louise F. Harper & Robert A. Harper
   Available Upon Request                                                 67               0.00%
   James B. Prull Tr. U/A James & Mary Prull Living
   Trust
   Available Upon Request                                                 65               0.00%
   Tom F. Rountree
   Available Upon Request                                                 65               0.00%


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   Lucia D. Amura
   Available Upon Request                                           64               0.00%
   Kathryn M. Payne & Richard E. Payne
   Available Upon Request                                           63               0.00%
   Rex T. Russell & Melinda Russell
   Available Upon Request                                           63               0.00%
   Ronald E. Busnardo TOD Ruth Busnardo
   Available Upon Request                                           61               0.00%
   Susan C. Jordan TOD
   Available Upon Request                                           60               0.00%
   John G. Harnishfeger
   Available Upon Request                                           59               0.00%
   Gary R. Haines
   Available Upon Request                                           58               0.00%
   Francis H. Plumley II
   Available Upon Request                                           58               0.00%
   Mina Tsui Sheung Leung & Frankie Hey Mou Lam
   TOD Jeffrey Yau Lung Lam
   Available Upon Request                                           56               0.00%
   Richard J. Gregory
   Available Upon Request                                           56               0.00%
   Mary Anne Summers TOD R. Temple Summers III
   Available Upon Request                                           56               0.00%
   Teddie W. Robertson Tr. U/A Robertson Family
   Trust FBO Pauline A. Robertson
   Available Upon Request                                           56               0.00%
   Fred Hedrich & Maria Hedrich TOD Betty Rogers
   Available Upon Request                                           55               0.00%
   Walter L. Hill & Bernice C. Hill
   Available Upon Request                                           55               0.00%
   Liva Taitano & Carlos Taitano
   Available Upon Request                                           52               0.00%
   Gregory P. Hudacko & Sheila Hudacko
   Available Upon Request                                           51               0.00%
   Alicia C. Mena & Joseph R. Holman
   Available Upon Request                                           51               0.00%
   Annetta Kampen & Ann Overlien Wilkes
   Available Upon Request                                           50               0.00%
   Ronald L. Voss
   Available Upon Request                                           50               0.00%
   Patricia Pomphrey
   Available Upon Request                                           50               0.00%


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   Mary S. Martin
   Available Upon Request                                                   50               0.00%
   James T. Conner Tr. U/A James T. Conner Trust
   Available Upon Request                                                   50               0.00%
   John Mcnamara & Barbara A. Mcnama Tr. U/A
   John Mcnamara Rev. Living Trust
   Available Upon Request                                                   50               0.00%
   Barbara Joan Gardner
   Available Upon Request                                                   50               0.00%
   Harry R. Bumgarner & Dollie P. Bumgarner
   Available Upon Request                                                   50               0.00%
   Bart H. Seinberg & Geraldine Seinberg Tr. U/A
   Bart H. & Geraldine Seinberg
   Available Upon Request                                                   49               0.00%
   Toby L. Arceneaux
   Available Upon Request                                                   49               0.00%
   Anthony M. Glasser & Ellen J. Glasser
   Available Upon Request                                                   48               0.00%
   Jerry W. Haught
   Available Upon Request                                                   48               0.00%
   Tracy Pike
   Available Upon Request                                                   48               0.00%
   Michael A. Quinn & Dixie L. Quinn
   Available Upon Request                                                   48               0.00%
   Alana Thieringer
   Available Upon Request                                                   47               0.00%
   I J. Stubblefield Tr. U/A I J. Stubblefield Revocable
   Trust
   Available Upon Request                                                   46               0.00%
   Michael D. Ryan
   Available Upon Request                                                   46               0.00%
   Edwin G. Stephens Jr. Tr. U/A Edwin G. Stephens Jr.
   Revocable Trust
   Available Upon Request                                                   45               0.00%
   Joyce D. Courtright & Otis C. Courtright
   Available Upon Request                                                   44               0.00%
   Chirag N. Amin
   Available Upon Request                                                   44               0.00%
   Richard E. Casey & Joan M. Casey
   Available Upon Request                                                   44               0.00%
   Hal D. Edwards
   Available Upon Request                                                   43               0.00%


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   Ronald C. Stratton Jr. & Ronald C. Stratton Sr.
   Available Upon Request                                              43               0.00%
   Frank M. Malles & Anna G. Malles
   Available Upon Request                                              43               0.00%
   Richard J. Avery Sr.
   Available Upon Request                                              43               0.00%
   Rowan Regional Pathology Assoc. Cust. James Cervin
   Available Upon Request                                              43               0.00%
   Bruce E. Lutz & Sue J. Lutz
   Available Upon Request                                              41               0.00%
   Rose E. Saunders
   Available Upon Request                                              41               0.00%
   Florence E. Gohdes & William H. Gohdes
   Available Upon Request                                              41               0.00%
   Kenneth B. Shearer
   Available Upon Request                                              40               0.00%
   Richard S. Dziedzic & Mary K. Dziedzic
   Available Upon Request                                              39               0.00%
   John E. Grupp
   Available Upon Request                                              39               0.00%
   Ken Ichi Toyama TOD Fukiko Toyama Hamamoto
   Available Upon Request                                              38               0.00%
   Douglas B. Hakala Tr. U/A Hakala Family Living
   Trust
   Available Upon Request                                              38               0.00%
   Joan M. Svoboda
   Available Upon Request                                              37               0.00%
   Peter A. Rafter
   Available Upon Request                                              37               0.00%
   Rogers A. Grogan & Jacqueline G. Grogan
   Available Upon Request                                              37               0.00%
   Michael A. Quinn Cust. Nichole A. Horton
   Available Upon Request                                              37               0.00%
   Janet F. Bennett Tr.
   Trust Available Upon Request                                        37               0.00%
   Steven B. Ottinger & Maria A. Ottinger
   Available Upon Request                                              37               0.00%
   Emilio Soli
   Available Upon Request                                              36               0.00%
   Charles R. Donley
   Available Upon Request                                              36               0.00%
   Franco D. Adkins & Virginie Adkins
   Available Upon Request                                              36               0.00%

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   Steven D. Kleinfeldt
   Available Upon Request                                               34               0.00%
   Robert Teschic & Linda L. Teschic
   Available Upon Request                                               34               0.00%
   Gennaro E. Sorrentino
   Available Upon Request                                               34               0.00%
   Sylvia C. Terry Cust. Douglas J. Terry
   Available Upon Request                                               33               0.00%
   Sylvia C. Terry Cust. Sean W. Terry
   Available Upon Request                                               33               0.00%
   Judith E. Lowe
   Available Upon Request                                               33               0.00%
   Andrew D. Langfeld & Tammy J. Langfeld
   Available Upon Request                                               33               0.00%
   Lloyd L. Temple & Eunice J. Temple
   Available Upon Request                                               33               0.00%
   Jason T. Peterson
   Available Upon Request                                               33               0.00%
   Sumiko Davis & Cheryl Gibson Jt. Ten.
   Available Upon Request                                               33               0.00%
   Mark C. Shankle & Kathleen E. Shankle
   Available Upon Request                                               32               0.00%
   Charles E. Harrison Jr.
   Available Upon Request                                               32               0.00%
   John D. Ryan & Judith A. Ryan
   Available Upon Request                                               31               0.00%
   Joe N. Pigott & Lorraine H. Pigott
   Available Upon Request                                               30               0.00%
   William B. Killough
   Available Upon Request                                               30               0.00%
   Paul E. Cappelli & Lynn Cappelli
   Available Upon Request                                               30               0.00%
   Leann K. Droppleman TOD Jennifer L. Fox
   Available Upon Request                                               30               0.00%
   Barbara P. Gibson & Robert C. Gibson
   Available Upon Request                                               30               0.00%
   Charles E. Durand Sr. & Esther C. Durand TOD
   Kateiscia Taylor
   Available Upon Request                                               29               0.00%
   Robert G. Smith & Katie A. Smith
   Available Upon Request                                               29               0.00%
   Dale M. Klopfenstein & Luanne Klopfenstein
   Available Upon Request                                               29               0.00%

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   John Klein Ex. Est. Robert F. Klein
   Available Upon Request                                            29               0.00%
   Carol A. Dsouza Cust. Nigel Dsouza
   Available Upon Request                                            28               0.00%
   Douglas J. Rolfe
   Available Upon Request                                            28               0.00%
   Carlton Sherrill
   Available Upon Request                                            28               0.00%
   Ronald Voss
   Available Upon Request                                            28               0.00%
   Timothy Allen Kinneer
   Available Upon Request                                            27               0.00%
   Randy S. Gooch
   Available Upon Request                                            27               0.00%
   Robert J. Stuart
   Available Upon Request                                            27               0.00%
   Emmett C. Wade
   Available Upon Request                                            27               0.00%
   Anne H. O'Leary
   Available Upon Request                                            27               0.00%
   Kevin J. Wade
   Available Upon Request                                            26               0.00%
   Eyvone J. Spangler & Denise R. Antes & Sandra
   J. Mann Jt. Ten.
   Available Upon Request                                            25               0.00%
   Cameron Pritts
   Available Upon Request                                            25               0.00%
   Richard W. Whaley & Richard T. Whaley
   Available Upon Request                                            25               0.00%
   Kathleen Mahannah
   Available Upon Request                                            25               0.00%
   Daniel L. Styles & Carrie D. Styles
   Available Upon Request                                            25               0.00%
   Timothy E. Smith
   Available Upon Request                                            25               0.00%
   Philip W. Scott
   Available Upon Request                                            25               0.00%
   Michael B. Mullen
   Available Upon Request                                            25               0.00%
   Sara L. Maus
   Available Upon Request                                            25               0.00%
   Sulyn Romer
   Available Upon Request                                            25               0.00%

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   John L. Stabiler Jr.
   Available Upon Request                                              25               0.00%
   Doretha C. Stewart
   Available Upon Request                                              25               0.00%
   Glenn Forman
   Available Upon Request                                              25               0.00%
   John Michael Westbrook
   Available Upon Request                                              25               0.00%
   Roberta D. Westbrook Williams
   Available Upon Request                                              25               0.00%
   Kimberly R. Bernard Stinson
   Available Upon Request                                              25               0.00%
   Valarie Westbrook Brooks
   Available Upon Request                                              25               0.00%
   Shirley Anderson TOD Timmy Anderson
   Available Upon Request                                              24               0.00%
   Jennifer A. Valentine & Dwayne M. Valentine
   Available Upon Request                                              24               0.00%
   Christopher G. Quinn & Brittany N. Quinn
   Available Upon Request                                              24               0.00%
   Christopher G. Quinn & Alley L. Quinn
   Available Upon Request                                              24               0.00%
   Glenn Mayse
   Available Upon Request                                              24               0.00%
   Stephen James Lonergan
   Available Upon Request                                              24               0.00%
   Joseph Dibrigida & Bridida Dibrigida
   Available Upon Request                                              23               0.00%
   John A. Thirkell TOD Kathleen M. Thirkell
   Available Upon Request                                              23               0.00%
   James A. Fisher
   Available Upon Request                                              23               0.00%
   William Burch
   Available Upon Request                                              23               0.00%
   Thomas M. Degregorio
   Available Upon Request                                              22               0.00%
   Christopher C. Rafter
   Available Upon Request                                              22               0.00%
   Jason T. Frick & Hannah G. Frick
   Available Upon Request                                              22               0.00%
   Carole J. Burrill TOD Wayne Riell
   Available Upon Request                                              22               0.00%


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   Eugene Cooke
   Available Upon Request                                               22               0.00%
   Todd M. Carter
   Available Upon Request                                               22               0.00%
   James M. Weir
   Available Upon Request                                               21               0.00%
   Dawn L. Foreyt
   Available Upon Request                                               21               0.00%
   Barbara J. Priou
   Available Upon Request                                               20               0.00%
   Steven T. Pinto & Margaret S. Pinto TOD Joseph P.
   Pinto
   Available Upon Request                                               20               0.00%
   Christopher R. Dickens
   Available Upon Request                                               20               0.00%
   Matthew T. Duncan
   Available Upon Request                                               20               0.00%
   Gregory Czubak
   Available Upon Request                                               20               0.00%
   John Gerstle
   Available Upon Request                                               20               0.00%
   Rick L. Baker Cust. Andrew J. Wade
   Available Upon Request                                               19               0.00%
   Louis N. Zackey & Clara A. Zackey
   Available Upon Request                                               19               0.00%
   Sylvia C. Terry Cust.. Amanda C Terry
   Available Upon Request                                               18               0.00%
   Donald E. Waldecker & Jacquelyn R. Waldecker
   Available Upon Request                                               18               0.00%
   Harold V. Green & Mae A. Green
   Available Upon Request                                               18               0.00%
   Ronald A. Keele & Addison N. Keele
   Available Upon Request                                               18               0.00%
   Walter M. Solomon & Gayle L Solomon
   Available Upon Request                                               18               0.00%
   Janine Contreras
   Available Upon Request                                               18               0.00%
   John S. Okoniewski & Mary Ann B. Okoniewski
   Available Upon Request                                               17               0.00%
   Mary Ann Zeff
   Available Upon Request                                               17               0.00%
   Charles E. Leggott
   Available Upon Request                                               17               0.00%

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   Mary Ann Zeff Tr. U/A The Mary Ann Zeff 2002
   Trust
   Available Upon Request                                                  17               0.00%
   Paul D. Snyder
   Available Upon Request                                                  17               0.00%
   Leroy Sterling TOD Sharla D. Sterling
   Available Upon Request                                                  17               0.00%
   David B. Pollock
   Available Upon Request                                                  17               0.00%
   Suresh Patel & Gulabben Patel
   Available Upon Request                                                  17               0.00%
   S. D. Partners
   P.O. Box 660
   Devon, PA 19333-0660                                                    17               0.00%
   Ainslie T. Settles
   Available Upon Request                                                  17               0.00%
   Ronald E. Busnardo TOD Ruth Busnardo
   Available Upon Request                                                  17               0.00%
   Alissa A. Yike
   Available Upon Request                                                  16               0.00%
   Aaron Broadway & Stephanie Broadway
   Available Upon Request                                                  16               0.00%
   Scott A. Cole & Qi Lin
   Available Upon Request                                                  16               0.00%
   Bradley J. Satterfield Cus.t Zachary J. Satterfield
   Available Upon Request                                                  16               0.00%
   Bradley J. Satterfield Cust. Mckinley Satterfield
   Available Upon Request                                                  16               0.00%
   Chorfai Chow
   Available Upon Request                                                  16               0.00%
   Terry L. Reams & Carol L. Reams
   Available Upon Request                                                  16               0.00%
   Leo V. Viola Jr.
   Available Upon Request                                                  16               0.00%
   Bernadette Fowlkes Bridges
   Available Upon Request                                                  16               0.00%
   Stephanie L. Broadway
   Available Upon Request                                                  16               0.00%
   Mary Alice Hagen
   Available Upon Request                                                  16               0.00%
   Peter A. Rafter Cust. Angelica M. Rafter
   Available Upon Request                                                  15               0.00%


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   Jeffrey A. Cofta TOD Sarah Cofta
   Available Upon Request                                                  15               0.00%
   Jeffrey A. Cofta TOD Rachel Cofta
   Available Upon Request                                                  15               0.00%
   Mark E. Hanoch & B. Denise Hanoch
   Available Upon Request                                                  15               0.00%
   Arlone C. Eisler Tr. U/A Arlone C. Eisler Trust
   Available Upon Request                                                  15               0.00%
   David Price
   Available Upon Request                                                  15               0.00%
   Teresa Shu TOD Matthew L. Lwsher
   Available Upon Request                                                  15               0.00%
   John R. Meyers
   Available Upon Request                                                  15               0.00%
   Louis J. Despres Jr.
   Available Upon Request                                                  14               0.00%
   Harlis J. Humphrey TOD Angula Humphrey
   Available Upon Request                                                  14               0.00%
   Kennth Oppenheimer
   Available Upon Request                                                  14               0.00%
   Jonathan Z. Summers
   Available Upon Request                                                  13               0.00%
   Robert R. Redfield
   Available Upon Request                                                  13               0.00%
   Trung Si Ngo & Thuy Dao Ngo TOD Thu Ngo
   Available Upon Request                                                  13               0.00%
   Donna J. Stock
   Available Upon Request                                                  13               0.00%
   Wayne Ka Yuen TOD Tiffany Yuen
   Available Upon Request                                                  13               0.00%
   Michael L. Morrow & Pamela S. Morrow
   Available Upon Request                                                  13               0.00%
   John S. Traynor
   Available Upon Request                                                  12               0.00%
   Tessa Pritts
   Available Upon Request                                                  12               0.00%
   John T. Duncan & Lourene Duncan
   Available Upon Request                                                  12               0.00%
   John M. Barbara & Ruby N. Barbara
   Available Upon Request                                                  12               0.00%
   Everett E. Sloan & Phyllis Sloan
   Available Upon Request                                                  12               0.00%

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   Casey Gray TOD Julie N. Gray
   Available Upon Request                                               12               0.00%
   James A. Miller Cust. Brooke E. Miller
   Available Upon Request                                               12               0.00%
   Richard W. Whaley & Richard T. Whaley
   Available Upon Request                                               12               0.00%
   Peter F. Holbrook
   Available Upon Request                                               12               0.00%
   Janice Kelley Adm. Est. Raymond Kelley
   Available Upon Request                                               12               0.00%
   James C. Farber
   Available Upon Request                                               11               0.00%
   Henry C. Mckoy
   Available Upon Request                                               11               0.00%
   Timothy D. Smith & Kathryn G. Smith
   Available Upon Request                                               11               0.00%
   David D. Mcmillen Cust. Megan Riley
   Available Upon Request                                               11               0.00%
   David D. Mcmillen Cust. Lavren Riley
   Available Upon Request                                               11               0.00%
   Cynthia A. Dwyer
   Available Upon Request                                               11               0.00%
   Margie Ann Tabuas TOD Ronald G. Tabuas
   Available Upon Request                                               11               0.00%
   David A. Richter
   Available Upon Request                                               11               0.00%
   Salvatore Eustachio
   Available Upon Request                                               11               0.00%
   Craig D. Boughton & Doris L. Boughton
   Available Upon Request                                               11               0.00%
   Alphonso Dinson
   Available Upon Request                                               11               0.00%
   Quang D. Hang
   Available Upon Request                                               10               0.00%
   Von D. Hawkins & Loretta M. Hawkins
   Available Upon Request                                               10               0.00%
   Samuel M. Locke III
   Available Upon Request                                               10               0.00%
   Carl B. Bolick & Karen J. Bolick
   Available Upon Request                                               10               0.00%
   Robert C. Kitson Cust. Charles V. Pacilio
   Available Upon Request                                               10               0.00%


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   Lawrence E. Kaiser & Linda K. Kaiser
   Available Upon Request                                                   10               0.00%
   Rajinder S. Sekhon & Manjit K. Sekhon
   Available Upon Request                                                   10               0.00%
   Lewis Kleinkopf & Eileen Kleinkopf
   Available Upon Request                                                   10               0.00%
   Philip J. Boylan
   Available Upon Request                                                   10               0.00%
   Annette Christy
   Available Upon Request                                                   10               0.00%
   Judith M. Favro Cust. Faith A. Kala
   Available Upon Request                                                   10               0.00%
   Jean Lynch
   Available Upon Request                                                   9                0.00%
   Denvel & Co.
   P.O. Box 532
   Tenafly, NJ 07670-0532                                                   9                0.00%
   Michael D. Katz
   Available Upon Request                                                   9                0.00%
   Elissa C. Katz
   Available Upon Request                                                   9                0.00%
   Laurel C. Krider TOD Charles E. Krider
   Available Upon Request                                                   9                0.00%
   Clifford W. Schick
   Available Upon Request                                                   9                0.00%
   John C. Barnett Cust. Joshua C. Barnett
   Available Upon Request                                                   9                0.00%
   John C. Barnett Cust. John C. Barnett
   Available Upon Request                                                   9                0.00%
   Edith H. Mino Cust. Jocelyn L. Mino
   Available Upon Request                                                   9                0.00%
   Larry D. Johnson
   Available Upon Request                                                   9                0.00%
   Thomas H. Lyons & Linda A. Lyons
   Available Upon Request                                                   9                0.00%
   Anthony D. Auria & Dolores D. Auria
   Available Upon Request                                                   9                0.00%
   Scott R. Rzeppa
   Available Upon Request                                                   9                0.00%
   Daniel Gainey
   Available Upon Request                                                   9                0.00%
   John J. Cherry Jr. Tr. U/A John J. Cherry Jr.
   Revocable Trust                                                          9                0.00%

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   Available Upon Request
   Dennis Belcher TOD Brittney N. Belcher
   Available Upon Request                                                9                0.00%
   Stony Metzner & Beverly Lloyd
   Available Upon Request                                                8                0.00%
   Bobby S. Eller
   Available Upon Request                                                10               0.00%
   Mark C. Polk
   Available Upon Request                                                11               0.00%
   WRBS Management LLC
   3225 Mcleod Drive
   Suite 100
   Las Vegas, NV 89121                                                   14               0.00%
   Cheryl P. Infortunio & Richard J. Infortunio
   Available Upon Request                                                8                0.00%
   Diane Gabriel
   Available Upon Request                                                8                0.00%
   Robert D. Wolf
   Available Upon Request                                                8                0.00%
   Jason Green
   Available Upon Request                                                8                0.00%
   Marc G. Kearns & Tami L. Kearns TOD Dara B.
   Kearns
   Available Upon Request                                                8                0.00%
   Sharlene Lindskog Tr. U/A 07/27/01 Lindskog Living
   Trust
   Available Upon Request                                                8                0.00%
   Wilbur N. Knox & Anne J. Knox
   Available Upon Request                                                8                0.00%
   Andrew J. Schwartz
   Available Upon Request                                                8                0.00%
   Richard B. Lardinois & Diane S. Lardinois
   Available Upon Request                                                8                0.00%
   Paul A. Fontaine Cust. Kenneth P. Fontaine
   Available Upon Request                                                8                0.00%
   James C. Mcginnis
   Available Upon Request                                                8                0.00%
   Julie Kirksey Cust. Erin Sue Kirksey
   Available Upon Request                                                8                0.00%
   Julie Kirksey Cust. Alexandra Christine Kirksey
   Available Upon Request                                                8                0.00%
   Joseph P. Monteleone TOD Stephanie A. Monteleone
   Available Upon Request                                                7                0.00%

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   Kathryn A. Franklin Cust. Adam M. Franklin
   Available Upon Request                                                7               0.00%
   Judith Ann Thomas Cust. Preston John Thomas
   Available Upon Request                                                7               0.00%
   Guillermo A. Hidalgo Cust. Ana L. Hidalgo
   Available Upon Request                                                7               0.00%
   Robert Tremethick
   Available Upon Request                                                7               0.00%
   Richard P. Wilson
   Available Upon Request                                                7               0.00%
   Dolores G. Clarke & Clayton H. Clarke Tr. U/A
   Clayton H. & Dolores G. Clarke
   Available Upon Request                                                7               0.00%
   Gerald F. Jarosz
   Available Upon Request                                                7               0.00%
   Shannon L. Saunders
   Available Upon Request                                                7               0.00%
   Stephen E. Weyant
   Available Upon Request                                                7               0.00%
   Raymond Ross Schwark TOD Victoria Jean Schwark
   Available Upon Request                                                7               0.00%
   Brian H. Withun & Katherine J. Withun
   Available Upon Request                                                7               0.00%
   Steven L. Hoffman & Llana G. Hoffman
   Available Upon Request                                                7               0.00%
   Debra J. Cervin
   Available Upon Request                                                7               0.00%
   Glenn Christensen Cust. Janie Fay Christensen
   Available Upon Request                                                7               0.00%
   Glenn Christensen Cust. Paige Talor Christensen
   Available Upon Request                                                7               0.00%
   Martin N Heilman
   Available Upon Request                                                7               0.00%
   Cynthia M. Leung Cust. Joshua S. Leung
   Available Upon Request                                                6               0.00%
   Cynthia M. Leung Cust. Jason J. Leung
   Available Upon Request                                                6               0.00%
   John R. Payne TOD Richard E. Payne
   Available Upon Request                                                6               0.00%
   John C .Barnett Cust. Erin E. Barnett
   Available Upon Request                                                6               0.00%
   Terry Lujan & Carlos Taitano
   Available Upon Request                                                6               0.00%
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   Victor Lujan & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Dana Lujan & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Doris Santos Palacios & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Maria San Agustin & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Claudia Bast & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Betty Jo Javier & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Anita Manibusan & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Joyce Bamba & Carlos Taitano
   Available Upon Request                                               6               0.00%
   Penny R. Snow TOD Jeffrey R. Wilkins
   Available Upon Request                                               6               0.00%
   Eric Wagner & Elaine M. Wagner Tr. U/A Eric
   Wagner & Elianem Wagner
   Available Upon Request                                               6               0.00%
   Marilyn Ross TOD Dan Ross
   Available Upon Request                                               6               0.00%
   John Carter Henderson 154495 TOD Joanne
   Henderson
   Available Upon Request                                               6               0.00%
   Timothy F. Long
   Available Upon Request                                               6               0.00%
   Lori Houppert
   Available Upon Request                                               6               0.00%
   Peter M. Doroshuk
   Available Upon Request                                               6               0.00%
   Mark L. Saunders Cust. Jilian M. Saunders
   Available Upon Request                                               6               0.00%
   Mary V. Tarr
   Available Upon Request                                               6               0.00%
   Victoria M. Leal
   Available Upon Request                                               5               0.00%
   Robert C. Kitson
   Available Upon Request                                               5               0.00%
   Chiyoko Oshiro
   Available Upon Request                                               5               0.00%


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   John Oshiro & Chiyoko Oshiro
   Available Upon Request                                                5               0.00%
   John Oshiro & Kevin Oshiro
   Available Upon Request                                                5               0.00%
   Chiyoko Oshiro & Kevin Oshiro
   Available Upon Request                                                5               0.00%
   Kevin Oshiro
   Available Upon Request                                                5               0.00%
   Golden Hills Group
   P.O. Box 1055
   Englewood Cliffs, NJ 07632-0055                                       5               0.00%
   Tressler & Co.
   P.O. Box 5265
   Englewood, NJ 07631-5265                                              5               0.00%
   Clayman & Co.
   P.O. Box 487
   Bergenfiled, NJ 07621-0487                                            5               0.00%
   Jaxon & Co.
   P.O. Box 5265
   Englewood, NJ 07631-5265                                              5               0.00%
   M D K F & Co.
   P.O. Box 5265
   Englewood, NJ 07631-5265                                              5               0.00%
   Hubert J. Tigner
   Available Upon Request                                                5               0.00%
   Charles E. Poole II TOD Geneva E. Poole
   Available Upon Request                                                5               0.00%
   Robert J. Cronin
   Available Upon Request                                                5               0.00%
   Christopher C. Rafter Cust. John P. Rafter
   Available Upon Request                                                5               0.00%
   Christopher C. Rafter Cust. Emma C. Rafter
   Available Upon Request                                                5               0.00%
   Anita L. Simonson & Dennis Simonson
   Available Upon Request                                                5               0.00%
   Kay Hill
   Available Upon Request                                                5               0.00%
   Michael D. Katz Cust. Jonathan M Katz
   Available Upon Request                                                5               0.00%
   Paul E. Cappelli Jr.
   Available Upon Request                                                5               0.00%
   Michael E. Litzinger & Susan R. Litzinger
   Available Upon Request                                                5               0.00%

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   Danae I Corum
   Available Upon Request                                               5               0.00%
   Josephine Navin
   Available Upon Request                                               5               0.00%
   Yuk C Lo
   Available Upon Request                                               5               0.00%
   Ian S Stuart Tr. U/A The Stuart Family Trust
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   Daniel Charles Byrd & Kathryn Mary Byrd
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   Lillian J. Barnes
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   David A. Dains & Anna C. Dains
   Available Upon Request                                               4               0.00%
   David K. Deturk
   Available Upon Request                                               4               0.00%
   Betty A. Davis
   Available Upon Request                                               4               0.00%
   Timothy J. Robinson & Karen R. Robinson
   Available Upon Request                                               4               0.00%
   Robert J. Cunha
   Available Upon Request                                               4               0.00%
   Jesus V. Quezada
   Available Upon Request                                               4               0.00%
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   Available Upon Request                                               4               0.00%
   Daniel T. Fitzpatrick
   Available Upon Request                                               4               0.00%
   James E. Marrie & Charlotte M. Marrie
   Available Upon Request                                               4               0.00%
   Dennis Hughes Am. 5356 TOD Angela Hughes
   Available Upon Request                                               4               0.00%
   James W. Saemann Cust. Jaimee M. Saemann
   Available Upon Request                                               4               0.00%
   Andrew A. Pendleton
   Available Upon Request                                               4               0.00%
   Edison Walkes
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   David A. Alexander & Karen A. Alexander
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   Travis F. Bennett TOD Jeremy R. Bennett
   Available Upon Request                                               4               0.00%
   Jeremy R. Bennett & Elizabeth A. Bennett TOD
   Travis F. Bennett
   Available Upon Request                                               4               0.00%
   Pamela S. Morrow Cust. Devon R. Morrow
   Available Upon Request                                               4               0.00%
   David M. Fisher
   Available Upon Request                                               4               0.00%
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   Joel D. Robinson
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   Douglas V. Lindsay & Betsy D. Kimble
   Available Upon Request                                               3               0.00%
   Jo Anna Goodwin TOD James O. Goodwin
   Available Upon Request                                               3               0.00%
   Giao Q. Nguyen & Thao P. Nguyen
   Available Upon Request                                               3               0.00%
   George Boltniew & Helen Boltniew
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   Michael T. Seaman
   Available Upon Request                                               3               0.00%
   Charles N. Stewart TOD Dianne M. Stewart
   Available Upon Request                                               3               0.00%
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   Available Upon Request                                               3               0.00%
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   Available Upon Request                                               3               0.00%
   Val R. Heim Jr. TOD Melody Heim Subject
   Available Upon Request                                               3               0.00%
   Margaret R. Miles & Carolyn R. Tolbert
   Available Upon Request                                               3               0.00%
   Harry E. P. Cooper Jr.
   Available Upon Request                                               3               0.00%
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   Bruce W. Gilbert & Jeffrey L. Gilbert
   Available Upon Request                                                3               0.00%
   Arthur C. Bubb
   Available Upon Request                                                3               0.00%
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   Linda S. Kincaid Cust. Sarah C. Kincaid
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   Available Upon Request                                                3               0.00%
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   Crystal L. Parker
   Available Upon Request                                                4               0.00%
   Crystal D. Mccollum
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   Christian G. Labadie
   Available Upon Request                                                5               0.00%
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   James S. Long Jr.
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   Kory K. Rieboldt
   Available Upon Request                                              2               0.00%
   Clifford W. Schick Cust. Abigail L. Schick.
   Available Upon Request                                              2               0.00%
   Mark W. Koons
   Available Upon Request                                              2               0.00%
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   Available Upon Request                                              2               0.00%
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   Available Upon Request                                              2               0.00%
   Christopher B. Wren Cust. Annalise E. Wren
   Available Upon Request                                              2               0.00%
   Lori J. Chiovare
   Available Upon Request                                              2               0.00%
   Carl W. Taitano & Carlos Taitano
   Available Upon Request                                              2               0.00%
   Michael Reyes & Carlos Taitano
   Available Upon Request                                              2               0.00%
   Kyle Reyes & Carlos Taitano
   Available Upon Request                                              2               0.00%
   Kenneth Reyes & Carlos Taitano
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   Jerrica Reyes & Carlos Taitano
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   Carlos Benjamin Taitano & Carlos Taitano
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   Katherine Taitano & Carlos Taitano
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   Joshua Lujan & Carlos Taitano
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   Candido San Agustin & Carlos Taitano
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   Lucia Torres & Carlos Taitano
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   Tyrone Taitano & Carlos Taitano
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   Joaquin Aguon & Carlos Taitano
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   Edward Sanchez & Carlos Taitano
   Available Upon Request                                              2               0.00%
   Joaquin Reyes & Carlos Taitano
   Available Upon Request                                              2               0.00%


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   Jose Javier & Carlos Taitano
   Available Upon Request                                            2               0.00%
   Ana Javier & Carlos Taitano
   Available Upon Request                                            2               0.00%
   Linda Reyes & Carlos Taitano
   Available Upon Request                                            2               0.00%
   Carlos Taitano
   Available Upon Request                                            2               0.00%
   Julian Kirschenstein & Paul T. Smith
   Available Upon Request                                            2               0.00%
   William Summers & Donald R. Wagner
   Available Upon Request                                            2               0.00%
   Jeff J. Pitzl
   Available Upon Request                                            2               0.00%
   CWR Enterprises Inc.
   5095 Blanton Dr.
   Las Vegas, NV 89122-6605                                          2               0.00%
   Randolph Richardson & Erica L. Richardson.
   Available Upon Request                                            2               0.00%
   Martina Thurlow
   Available Upon Request                                            2               0.00%
   Charles J. Butler & Gloria S. Butler
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   Elizabeth H. Hyams
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   Henry G. Dube & Christopher J. Dube
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   Robert F. Driscoll
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   Phillip H. Tedder
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   Andrei Koutsenko
   Available Upon Request                                          2               0.00%
   Brian E. Board
   Available Upon Request                                          2               0.00%
   Lee V. Bruner
   Available Upon Request                                          2               0.00%
   Roy Odonnell Cust. Gianna M. Serpico
   Available Upon Request                                          2               0.00%
   Joseph M. Sorrentino
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   Carroll Properties
   P.O. Box 487
   Bergenfield, NJ 07621-0487                                      1               0.00%
   Canyen Investments
   P.O. Box 218
   Dumont, NJ 07628-0218                                           1               0.00%
   Irix Partners
   P.O. Box 532
   Tenafly, NJ 07670-0532                                          1               0.00%
   Bortown Productions
   P.O. Box 159
   Demarest, NJ 07627-0159                                         1               0.00%
   Elmora & Co.
   300 E. Linden Ave.
   Englewood, NJ 07631-3719                                        1               0.00%
   Brooklink Research
   P.O. Box 159
   Demarest, NJ 07627-0159                                         1               0.00%
   Rachel Sidlow
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   Robert Sidlow
   Available Upon Request                                          1               0.00%
   Mordecai D. Katz
   Available Upon Request                                          1               0.00%
   Monique C. Katz
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   Chris R. Flemming
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   Linda S. Grimm TOD William F. Grimm
   Available Upon Request                                          1               0.00%
   Rand L. Baker
   Available Upon Request                                          1               0.00%


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   Teresa E. Leonard
   Available Upon Request                                             1               0.00%
   Leif G. Biderman
   Available Upon Request                                             1               0.00%
   Robert F. Fortin
   Available Upon Request                                             1               0.00%
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   Daniel E. Evilsizor & Melissa J. Evilsizor
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   Christine L. Feiser & William D. Brown
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   Loraine V. Clabaugh & Glen E. Clabaugh
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   Christine R. Dabney Cust. Leesa R. Mounce
   Available Upon Request                                             1               0.00%
   Vladimir V. Kogan & Julia Kogan
   Available Upon Request                                             1               0.00%
   William L. Adams & Katriona M. Adams
   Available Upon Request                                             1               0.00%
   Shawna Brush Cust. Ayla K. Clark
   Available Upon Request                                             1               0.00%
   Joseph A. Capra & Carol A. Capra
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   Ashia M. Williams & John H. Lonien
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   Scott F. Kinsey
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   Deborah A. Gorencic Cust. Anna L. Gorencic
   Available Upon Request                                             1               0.00%
   Matthew T. Margarum
   Available Upon Request                                             1               0.00%
   Thom P. Parks
   Available Upon Request                                             1               0.00%
   Greg K. Stephenson TOD Shelly Stephenson
   Available Upon Request                                             1               0.00%
   Joseph G. Navin
   Available Upon Request                                             1               0.00%


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   James F. Felice
   Available Upon Request                                            1               0.00%
   Maxine L. Ellett & Leona M. Elam
   Available Upon Request                                            1               0.00%
   Robert A. Wagner
   Available Upon Request                                            1               0.00%
   Jason S. Weeks
   Available Upon Request                                            1               0.00%
   Erin A. Henderson
   Available Upon Request                                            1               0.00%
   Joshua J. Henderson
   Available Upon Request                                            1               0.00%
   William R. Allen
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   Warren P. Hyams
   Available Upon Request                                            2               0.00%
   Marian Taitano & Carlos Taitano
   Available Upon Request                                            2               0.00%
   William J. Stave
   Available Upon Request                                            1               0.00%
   John R. Fuller
   Available Upon Request                                            1               0.00%
   Virginia K. Bolton
   Available Upon Request                                            1               0.00%
   Winston W. Johnson TOD Lena Johnson
   Available Upon Request                                            1               0.00%
   Teresa Kaminska
   Available Upon Request                                            1               0.00%
   Carlton O. Johnson TOD Winston Johnson
   Available Upon Request                                            1               0.00%
   James R. Valles Jr. & Bethany S. Valles
   Available Upon Request                                            1               0.00%
   Gaven Cole Schneider TOD Megan Schneider
   Available Upon Request                                            1               0.00%
   Wendell R. Ellis & Stacy L. Ellis
   Available Upon Request                                            1               0.00%
   Michael K. Coning
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   Jeannette Aguinaga
   Available Upon Request                                            1               0.00%



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Fill in this information to identify the case:

Debtor name         Novation Companies, Inc., et al.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration            Corporate Ownership Statement and List of Equity Security Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on         8/13/23                       X     /s/ Michael Wyse
                                                             Signature of individual signing on behalf of debtor
                                                                Michael Wyse
                                                             Printed name

                                                                Chief Restructuring Officer
                                                             Position or relationship to debtor




Official Form 202                                                                       Declaration Under Penalty of Perjury for Non-Individual Debtors
